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                    UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS



ERIC CERVINI, WENDY DAVIS,
DAVID GINS, and TIMOTHY
HOLLOWAY,
                                          Civil Action No. 1:21-cv-00565
                       Plaintiffs,

     v.


ELIAZAR CISNEROS, HANNAH CEH,
RANDI CEH, STEVE CEH, KYLE
KRUGER, JOEYLYNN MESAROS,
ROBERT MESAROS, and DOLORES
PARK,
                      Defendants.



                    FIRST AMENDED COMPLAINT
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                                        INTRODUCTION

       1.      On October 30, 2020, dozens of individuals in at least forty vehicles bearing flags

exalting then-President and Presidential Candidate Donald J. Trump formed a self-labeled

vehicular “Trump Train” on Texas’s main highway. The goal of the organizers and many of the

participants was to intimidate supporters of then-Democratic Presidential and Vice Presidential

Candidates Joseph R. Biden and Kamala Harris, and to stop those supporters from speaking and

acting freely in support of the candidate of their choice in Texas.

       2.      That day—the last day of early voting for the presidential election in Texas—

supporters of the Biden-Harris Campaign intended to campaign at various political events across

central Texas. The participants in the Trump Train deliberately upended those plans. The Trump

Train vehicles surrounded the Biden-Harris Campaign bus on the highway, forced it to slow down

to a crawl, came within inches of the bus, and, as one of the drivers later bragged, “slamm[ed]”

into a staffer’s follow car. Those on the bus feared injury or for their lives. All suffered lingering

trauma in the days and months thereafter.

       3.      The events of October 30 arose from a campaign of politically-motivated

intimidation. In the days leading up to October 30, after the Biden-Harris Campaign announced a

three-day bus tour through Texas, surrogates for the Trump campaign—including Trump’s son,

Donald Trump Jr.—told supporters in Texas to “have some fun” and give the Biden-Harris

Campaign a “nice Trump Train welcome.” Encouraged by those surrogates, certain Trump

supporters in Texas began organizing a coordinated political intimidation campaign on social

media, spreading word of their intent to disrupt Biden-Harris supporters from freely assembling

and to make Biden-Harris supporters feel the consequences of openly advocating for their

preferred candidates in Texas.

       4.      On October 28 and 29, supporters of the Biden-Harris Campaign were intimidated,


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harassed, and attacked at multiple stops along the tour. Some of the assailants displayed weapons.

Others screamed death threats. And on the morning of October 30, a group of Trump supporters

conspired to ambush the Biden-Harris Campaign’s tour bus on a stretch of Interstate 35 (“I-35”)

between San Antonio and Austin, Texas.

        5.      Plaintiffs Eric Cervini, Wendy Davis, David Gins, and Timothy Holloway—

respectively, a volunteer, surrogate, staffer, and contractor for the Biden-Harris Campaign—

intended to spend that October day campaigning across central Texas. Instead, Plaintiffs were

attacked by a politically-motivated conspiracy to disrupt the campaign and intimidate its

supporters.

        6.      Defendants are individuals who conspired to form the Trump Train and ambush

Plaintiffs on the highway. Organized primarily through local Trump Train groups in New

Braunfels and San Antonio, Defendants Eliazar Cisneros, Hannah Ceh, Randi Ceh, Steve Ceh,

Kyle Kruger, Joeylynn Mesaros, Robert Mesaros, and Dolores Park, along with others in the

Trump Train, coordinated to wait for the tour bus and terrorize those on board, and then to follow

the bus as it made its final stops.

        7.      For at least ninety minutes, Defendants terrorized and menaced the driver and

passengers on the Biden-Harris Campaign’s bus. The Trump Train surrounded the bus and forced

it to slow down to a pace of 15-25 miles per hour on an interstate with a speed limit of around 70

miles per hour. They swerved and drove in front of the bus to block its path and abruptly slowed

down to a crawl, forcing the approximately 25-ton bus to take evasive maneuvers to avoid a

collision. They played a madcap game of highway “chicken,” coming within three to four inches

of the bus. They tried to run the bus off the road. The Trump Train participants live-streamed

their behavior on social media, bragging about their aggressive driving, showing how dangerously

close they were driving to the bus and its accompanying vehicles, and openly speculating about


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who might be on the bus they were targeting—including, they hoped, then-Vice Presidential

Candidate Kamala Harris.

       8.      Plaintiffs feared the Trump Train might run the bus off the road, or that they might

crash into a vehicle, wall barrier, sign, pillar, or other obstacle on or by the highway. They feared

what the Trump Train participants might do if they succeeded in stopping the bus or forcing the

bus off the road. Plaintiffs were terrified that someone on the bus, or someone else driving on the

interstate, would be injured or killed—fears which were nearly realized when Defendant Cisneros

side-swiped an accompanying SUV driven by a Biden-Harris Campaign staffer, an act that

Defendant Cisneros later described as “slamming that fucker” and “serv[ing] . . . 35 in[ch] tires.”

       9.      Plaintiffs finally escaped the Trump Train in Austin, Texas. From its position

straddling the middle and right lanes, travelling at approximately 70 miles per hour, the bus

swerved at the last second to drive onto the Riverside exit ramp away from the Trump Train.

       10.     As a result of the events of October 30, Plaintiffs suffer ongoing psychological and

emotional injury. They have suffered other tangible harms too; for example, Holloway, the bus

driver, was unable to drive a bus for nearly a year after the incident and turned down professional

opportunities to drive a bus. Davis, Gins, and others were prevented from exercising their First

Amendment rights, as they had to cancel all remaining campaign stops because the Trump Train’s

intimidation posed a safety risk for not only Plaintiffs, but other candidates for political office,

campaign staff, and supporters.

       11.     Our constitutional system relies upon and protects a vibrant public space in which

all persons may speak, advocate, campaign, and ultimately vote for their candidate of choice.

Plaintiffs share a deep commitment to those freedoms, including the freedoms of those with whom

they disagree politically. Defendants are entitled to the same rights; they are free to voice their

support, wave their flags, wear their hats, and vote their conscience.


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       12.        What Defendants cannot do under the law is use force, intimidation, or threats

against those with whom they disagree politically. Yet that is precisely what Defendants did by

conspiring to use their vehicles as weapons to interfere with the legal rights of those who supported

the Biden-Harris Campaign.        The Constitution’s guarantee of free speech, association, and

assembly is empty if those rights cannot be freely exercised. And where groups are permitted to

terrorize those with whom they disagree into forgoing their constitutional rights, the functioning

of our democracy demands accountability.

       13.        Congress passed the Ku Klux Klan Act of 1871 (“Klan Act”) to prevent groups

from joining together to obstruct free and fair federal elections by intimidating and injuring voters,

or denying them the ability to engage in political speech. Defendants openly and willfully violated

that statutory command.       The Klan Act prohibited Defendants’ modern-day conspiracy to

intimidate voters in trucks in the light of day in the same way that the law outlawed intimidation

while hooded on horseback in the dark of night in 1871. Defendants can and must be held

accountable for their acts of political intimidation.          This lawsuit seeks to enforce that

accountability.

       14.        Defendants violated the Klan Act and Texas law. Plaintiffs bring this lawsuit to

obtain a remedy for the injuries Plaintiffs suffered as a result of Defendants’ unlawful conspiracy,

in which they were literally, and forcefully, driven out of town for their political beliefs. Plaintiffs

seek compensatory, nominal, and punitive relief for their injuries.




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                                            PARTIES

             A. Plaintiffs

       15.      Plaintiff Eric Cervini is a resident of Texas. During the 2020 campaign, Cervini

served as a volunteer in Texas for the Biden-Harris Campaign. Cervini assisted with planning and

participated in campaign events on the Biden-Harris Campaign’s “Soul of the Nation” bus tour.

       16.      Plaintiff Wendy Davis is a resident of Texas. She lives in Austin. Davis is a former

Texas State Senator and was the Democratic candidate for Texas’s 21st congressional district in

the 2020 election. Davis also served as a campaign surrogate for the Biden-Harris Campaign in

Texas during the 2020 election. On October 30, 2020, Davis participated in campaign events on

the Biden-Harris Campaign’s “Soul of the Nation” bus tour.

       17.      Plaintiff David Gins is a resident of the District of Columbia. During the 2020

campaign, Gins served as the Director of State Operations for Texas for the Biden-Harris

Campaign. Gins planned and participated in campaign events on the Biden-Harris Campaign’s

“Soul of the Nation” bus tour.

       18.      Plaintiff Timothy Holloway is a resident of the District of Columbia. A long-time

commercial bus driver, Holloway was hired by the Biden-Harris Campaign to provide vehicle and

driving services for the “Soul of the Nation” bus tour.

             B. Defendants

       19.      Defendant Hannah Ceh is a resident of Texas. Hannah Ceh is the daughter of

Defendants Steve and Randi Ceh, two leaders of the New Braunfels Trump Train, and was an

active member of the New Braunfels Trump Train who participated in the forceful harassment and

intimidation of Plaintiffs, the Biden-Harris Campaign bus, and its escorting vehicles. During and

after the October 30, 2020 incident, Hannah Ceh posted videos to social media showing her riding




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in a Toyota Tundra bearing Texas License Plate # LXT 9066, which repeatedly assaulted the

Biden-Harris Campaign bus.

       20.     Defendant Randi Ceh is a resident of Texas. Along with her husband Steve Ceh,

Randi Ceh organized and led the Trump Train New Braunfels. She is the administrator of Trump

Train New Braunfels social media pages, including its private Facebook page. The Ceh family

created the Trump Train New Braunfels in order to, among other things, hold weekly in-person

meetings and send caravans of vehicles through New Braunfels and surrounding areas.

Participants in these caravans routinely slowed traffic, blared horns, and on information and belief,

from time to time, targeted homes displaying yard signs supporting the Biden-Harris Campaign

for harassment. On October 30, 2020, as members of the New Braunfels Trump Train surrounded,

intimidated, and assaulted the Biden-Harris Campaign bus, Randi Ceh acted as mission control for

the group, alerting co-conspirators to when the bus was leaving San Antonio, to its planned stops

and whereabouts along its intended route, and where Trump Train participants were gathered.

Afterwards, on social media, she celebrated the New Braunfels Trump Train’s success in causing

the Biden-Harris Campaign and Plaintiffs to cancel events in San Marcos and Austin, TX for fear

of the safety of themselves and others.

       21.     Defendant Steve Ceh is a resident of Texas. Along with his wife Randi Ceh, Steve

Ceh organized and led the Trump Train New Braunfels. The Ceh family created the Trump Train

New Braunfels in order to, among other things, hold weekly in-person meetings and send caravans

of vehicles through New Braunfels and surrounding areas. Participants in these caravans routinely

slowed traffic, blared horns, and on information and belief, from time to time, targeted homes

displaying yard signs supporting the Biden-Harris Campaign for harassment. Throughout October

30, 2020, he was in close contact with his wife Randi Ceh, daughter Hannah Ceh, and other Trump

Train leaders and participants about the group’s harassment and intimidation of the Biden-Harris


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Campaign bus, including at least one collision between a Trump Train participant and a vehicle

accompanying the Biden-Harris Campaign bus, and the Trump Train’s success in making planned

Biden-Harris Campaign stops too dangerous to carry on while the Trump Train continued to

surround and intimidate Plaintiffs.

       22.     Defendant Eliazar Cisneros is a resident of Texas. Cisneros was a member of the

Alamo City Trump Train who participated in the forceful harassment and intimidation of Plaintiffs,

the Biden-Harris Campaign bus, and its escorting vehicles. A Ford F-150 bearing Texas License

Plate # 67555 DV registered in his name was identified in video footage of the October 30, 2020

incident, and Cisneros later confirmed on social media that he was present in the “Trump Train”

on I-35. Cisneros was identified in several media outlets as the driver of the vehicle that struck a

vehicle accompanying the Biden-Harris Campaign bus. Cisneros maintains or has maintained

various social media accounts, including on Facebook and Twitter, certain of which appear to have

been deleted following the events that gave rise to this lawsuit.

       23.     Defendant Kyle Kruger is a resident of Texas. Kruger participated in the forceful

harassment and intimidation of Plaintiffs, the Biden-Harris Campaign bus, and its accompanying

vehicles. Kruger is the boyfriend of Hannah Ceh, and was an active member of the New Braunfels

Trump Train. During and after the October 30, 2020 incident, Hannah Ceh posted videos to social

media showing her riding in a white Toyota Tundra bearing Texas License Plate # LXT 9066,

which repeatedly assaulted the Biden-Harris Campaign bus. Kyle Kruger was the driver of that

vehicle.

       24.     Defendant Joeylynn Mesaros is a resident of Texas. Joeylynn Mesaros participated

in the forceful harassment and intimidation of Plaintiffs, the Biden-Harris Campaign bus, and its

accompanying vehicles. Joeylynn Mesaros was identified in photo and video evidence as the

passenger of a Ford F-150 bearing Texas License Plate # NJX 1701, registered to her husband


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Robert, which on October 30, 2020 repeatedly assaulted the Biden-Harris Campaign bus and

slowed down traffic on I-35.

        25.        Defendant Robert Mesaros is a resident of Texas. Robert Mesaros participated in

the forceful harassment and intimidation of Plaintiffs, the Biden-Harris Campaign bus, and its

accompanying vehicles. Robert Mesaros was identified in photo and video evidence as driving a

Ford F-150 bearing Texas License Plate # NJX 1701 registered in his name, which on October 30,

2020 repeatedly assaulted the Biden-Harris Campaign bus and slowed down traffic on I-35.

        26.        Defendant Dolores Park is a resident of Texas. Park participated in the forceful

harassment and intimidation of Plaintiffs, the Biden-Harris Campaign bus, and its accompanying

vehicles. Park was identified in self-posted social media footage as driving a Cadillac SRX on

October 30, 2020 that repeatedly assaulted the Biden-Harris Campaign bus and slowed down

traffic on I-35.

                                            JURISDICTION

        27.        This Court has subject-matter jurisdiction over this action because this action arises

under federal law, specifically Section 2 of the Ku Klux Klan Act of 1871, 42 U.S.C. § 1985(3).

It has jurisdiction over Plaintiffs’ state law claims because they are so closely related to the federal

claims as to form part of the same case or controversy. See 28 U.S.C. §§ 1331, 1367.

        28.        This Court has personal jurisdiction over all Defendants because they committed

these violations in Bexar, Comal, Hays, and Travis Counties, Texas, which are located in the

Western District of Texas.

        29.        Venue is proper in this district under 28 U.S.C. § 1391(e) because significant events

giving rise to this action occurred in the Western District of Texas.




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                                FACTUAL BACKGROUND

I.     THE NEW BRAUNFELS AND ALAMO CITY “TRUMP TRAINS”

       30.    Over the course of the summer of 2020, supporters of the Trump Campaign began

organizing vehicle caravans to show their support for Trump’s reelection to the U.S. presidency.

Across the country, convoys of vehicles bearing flags, signs, bumper stickers, and other Trump

paraphernalia gathered and drove through cities and towns to demonstrate their support for the

campaign. While many of these self-labeled “Trump Trains” were organized by local community

members, others were coordinated online across cities and states by activists and organizations

such as “MAGA Drag the Interstate.”

       31.    Several “Trump Trains” operated in and around the greater San Antonio and Austin

areas in the weeks leading up to Election Day 2020.

       32.    In or around July 2020, a group named the “New Braunfels Trump Train” began

operating in and around Hays and Comal Counties. In the weeks and months leading up to Election

Day, the New Braunfels Trump Train organized meetings and parade convoys of hundreds of

vehicles supporting the Trump Campaign, protesting campaigns including the Black Lives Matter

movement and Democratic candidates for political office.

       33.    According to media reports and social media, the New Braunfels Trump Train was

led by Steve Ceh and Randi Ceh. The identities of any other leaders or administrators of the New

Braunfels Trump Train, and any other owner(s) or administrator(s) of the New Braunfels Trump

Train Facebook and YouTube accounts, are unknown to Plaintiffs.

       34.    Steve Ceh is listed on the Republican Club of Comal County’s Website as a

“Founder” of the New Braunfels Trump Train, and is described in media reports and on social

media as a leader of the group. A now-deleted tweet from the Twitter account @truthserum4all,

which upon information and belief belonged to Tammatha Coiteux—which could only be accessed


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through archived search results as it has since been deleted—states “NewBraunfelsTrumpTrain is

coming to town!! Steve Ceh leading the CHARGE !!”:




       35.    According to social media footage, Randi Ceh also participated in leading and

publicizing the New Braunfels Trump Train.1

       36.    According to media reports and social media, Defendants Hannah Ceh, and Kyle

Kruger, were members of the New Braunfels Trump Train.

       37.    The New Braunfels Trump Train operated both a Facebook group and a YouTube

account. On or around November 2, 2020, the New Braunfels Trump Train Facebook group was

reported to have had more than 4,000 members.2 According to media reports, the New Braunfels

Trump Train Facebook group was “closed” to non-members. Upon information and belief, Randi

Ceh was an administrator of the New Braunfels Trump Train Facebook group. Details of the New

Braunfels Trump Train’s meetings were organized in the New Braunfels Trump Train Facebook

group, although details of the group’s planned actions were posted routinely on social media and

reported by local media.

       38.    Upon information and belief, Defendant Steve Ceh communicated with the New

Braunfels Trump Train Facebook group through shared use of Defendant Randi Ceh’s Facebook

profile. For example, a September 23, 2020 post made by Defendant Randi Ceh’s Facebook profile

began by saying, “This is Steve Ceh.”


1
  See, e.g., MagaMom716 (@RandiCeh716), TWITTER (Oct. 30, 2020, 7:49 PM),
https://twitter.com/RandiCeh716/status/1322324830155206656?s=20.
2
  ‘#OperationBlockTheBus’: Inside the Pro-Trump FB Group Where Biden Bus Convoy Was
Organized, SNOPES (Nov. 2, 2020), https://www.snopes.com/news/2020/11/02/operation-block-
the-bus/.

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        39.       Upon information and belief, in the months preceding the Incident, Defendant Steve

Ceh communicated with the Trump Train New Braunfels Facebook group using Randi Ceh’s

account.

        40.       Up to and including the Incident, Defendant Randi Ceh’s Facebook profile

regularly communicated plans for Trump Trains directly to the New Braunfels Trump Train

Facebook group. On the day of the Incident, Defendant Randi Ceh advised the Facebook group

as to the location of Biden-Harris bus, where late group members could join the pursuing Trump

Train, and footage documenting the Incident.

        41.       October 30, 2020 was not the first time participants in the New Braunfels Trump

Train engaged in threatening behavior. For example, during one Trump Train rally held on

September 3, 2020, a member of the Trump Train attached a Black Lives Matter flag to their

truck’s underside, dragging it as they drove.3 Another Trump Train member threatened to burn

down the house of a woman who held up a sign saying, “Baby sleeping, people live here.” Her

husband, who was Hispanic, was told by a Trump Train member to “get back on [his] boat” when

he attempted to intervene.4 The family requested anonymity before reporting the incident for fear

of retribution.

        42.       The following day, Defendant Randi Ceh’s account posted: “From Steve Ceh,

leader: What a great night! What a crowd of Patriots! ‘It does not take a majority to prevail ...

but rather an irate, tireless minority, keen on setting brushfires of freedom in the minds of men.’

Samuel Addams We Set these brush fires of freedom every week. KEEP IT UP PATRIOTS! 4

MORE YEARS!”5


3
  Stephanie Johnson, NB Trump Parade Truck Drags Black Lives Matter Flag; City Says Free
Speech Isn’t the Issue, MY CANYON LAKE (Sept. 4, 2020), https://mycanyonlake.com/nb-trump-
parade-truck-drags-black-lives-matter-flag-city-says-free-speech-isnt-the-issue/.
4
  See supra https://mycanyonlake.com/nb-trump-parade-truck-drags-black-lives-matter-flag-city-
says-free-speech-isnt-the-issue/.
5
  Trump Train NB, FACEBOOK (Sept. 4, 2020).

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       43.     Similar behavior has been reported since the October 30, 2020 incident as well.

Members of the New Braunfels Trump Train were identified in media reports and on social media

as having taken part in the January 6, 2021 insurrection. Steve Ceh and Randi Ceh were in

Washington, D.C. that day. On January 7, YouTube user New Braunfels Trump Train posted a

now-deleted video entitled “January 6, 2021 will go down a day in history[U.S. flag emoji][U.S.

flag emoji].” The video features a photo of Steve and Randi Ceh apparently posing in front of the

Capitol steps as others are breaching or attempting to breach the building.

       44.     In or around September 2020, a similar group called the “Alamo City Trump Train”

was formed. The Alamo City Trump Train operated a Facebook group, Twitter account, and

YouTube account. According to media reports, the Facebook group’s description stated:

               The Alamo City Trump Train is the loud roar of the silent majority. The purpose
               of the group is to unite patriots from San Antonio and surrounding areas and join
               together to show our support for President Trump and for conservative values. The
               group is also meant to give fellow patriots a place to meet and build long lasting
               friendships with like-minded individuals. With the success of the New Braunfels
               Trump Train, it’s time for San Antonio to step up and let our city know that WE
               ARE THE MAJORITY!6

By Election Day, the Alamo City Trump Train Facebook group was reported to have 4,000


6
 Did Armed Trump Supporters Harass a Biden Bus in Texas?, SNOPES (Nov. 2, 2020),
https://www.snopes.com/fact-check/armed-trump-fans-biden-bus/.

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members.7

       45.     From September 2020 through Election Day, the Alamo City Trump Train

organized meetings and parade convoys of hundreds of vehicles, during which supporters would

display Trump paraphernalia and gather to support the former President’s campaign. Details of

the Alamo City Trump Train’s actions were posted routinely on social media and reported by local

media. Details of the meetings were organized predominantly in the Alamo City Trump Train

Facebook group. The identities of the leaders or administrators of the Alamo City Trump Train,

and the owner(s) or administrator(s) of the Alamo City Trump Train Twitter and YouTube

accounts, are unknown to Plaintiffs.

       46.     According to media reports and screen captures of posts within the Alamo City

Trump Train Facebook group, Defendant Cisneros was a member of the Alamo City Trump Train.

       47.     Cisneros admitted to local media in Texas that he had repeatedly shown up armed

with a long gun at demonstrations for viewpoints with which he disagreed. In September 2020,

he drove his car, adorned with Trump flags, into a crowd of Black Lives Matter protestors in San

Antonio:




7
  ‘#OperationBlockTheBus’: Inside the Pro-Trump FB Group Where Biden Bus Convoy Was
Organized, SNOPES (Nov. 2, 2020), https://www.snopes.com/news/2020/11/02/operation-block-
the-bus/.

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II.    THE IMMEDIATE LEAD-UP TO OCTOBER 30

             A. Biden-Harris Campaign Announces “Soul of the Nation” Bus Tour

       48.      On October 25, 2020, news broke that then-Vice Presidential candidate Kamala

Harris would be visiting Texas. Three days later, the Biden-Harris Campaign released Vice

President Harris’s schedule, which announced that she would hold events in McAllen, Fort Worth,

and Houston on Friday, October 30, 2020.

       49.      On October 27, 2020, the Biden-Harris Campaign announced a three-day “Soul of

the Nation” bus tour from October 28 to 30, 2020 (the “Bus Tour”). The Bus Tour was to feature

rallies and gatherings in support of the Biden-Harris Campaign as well as speeches by campaign

surrogates and candidates in local Texas elections. The Bus Tour announced that it would include

stops in Amarillo, Lubbock, Abilene, Fort Worth, and Dallas on the first day; Beaumont, Port

Arthur, Houston, Fort Bend, and Corpus Christi on the second day; and Laredo, San Antonio, San

Marcos, and Austin on the third day.

       50.      As soon as the Biden-Harris Campaign made plans for the Bus Tour public,

members of the Alamo City and New Braunfels Trump Trains began planning to intercept and

intimidate the bus as it traveled through Bexar, Comal, Hays, and Travis Counties on October 30.

On the morning of Wednesday, October 28, 2020, one Alamo City Trump Train member posted

that the group should “be on standby for Friday,” and that the group should “flood the hell out of

them [the Biden-Harris Campaign bus]”:8




8
  ‘#OperationBlockTheBus’: Inside the Pro-Trump FB Group Where Biden Bus Convoy Was
Organized, SNOPES (Nov. 2, 2020), https://www.snopes.com/news/2020/11/02/operation-block-
the-bus/.

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       51.      On the afternoon of October 28, 2020, President Trump’s son and a Trump

Campaign surrogate, Donald Trump Jr., posted a video on Twitter directed to supporters of his

father in Texas, stating, “Hey Laredo. Don Jr here. I heard you had an awesome turn out for the

Trump Train. It would be great if you guys would all get together and head down to McAllen

and give Kamala Harris a nice Trump Train welcome. Get out there. Have some fun. Enjoy

it. Don’t forget to vote and bring all of your friends. Let’s show them how strong Texas still is as

Trump country. Get out there guys.”

       52.      Kambree Kawahine Koa, who uses the Twitter handle @KamVTV, retweeted Don

Jr.’s message and encouraged her now more than 300,000 followers to give the Biden-Harris

Campaign a “big Trump Texas Welcome” on October 30:9




             B. Trump Train Follows Biden-Harris Campaign Bus at October 28-29 Events

       53.      On October 28, 2020, the first day of the Bus Tour, social media posts began to

circulate about Trump Train members attempting to follow the bus. Koa tweeted that “one of our


9
 Kambree (@KamVTV), TWITTER (Oct. 28, 2020, 4:06 PM),
https://twitter.com/KamVTV/status/1321543980165857283.

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guys” was following behind the Biden-Harris Campaign bus, and told her followers to “Stay

tuned.”     Koa, a freelance journalist and Women for Trump activist, appears to have been

instrumental in organizing and publicizing Trump Trains throughout the state during the duration

of the Bus Tour.10




          54.   At campaign stops in Lubbock, Fort Worth, Dallas, and Houston on the first and

second days of the Bus Tour, Trump supporters confronted Biden-Harris supporters and Bus Tour

participants. Trucks with Trump paraphernalia followed the bus between Fort Worth and Dallas,

and surrounded the bus when it stopped outside a library in Dallas. Some Trump supporters got

out of their vehicles and confronted individuals from the Biden-Harris Campaign. One Trump

supporter screamed graphic insults at a child at the library. Trump supporters continued to follow

the bus as it drove to Houston, and circled the area near the stop, shouting at Biden-Harris

supporters and Bus Tour participants and disrupting the event.

          55.   At the next scheduled Bus Tour stop in Fort Bend, about 500 Trump supporters



10
   Kambree (@KamVTV), TWITTER (Oct. 28, 2020, 6:00 PM),
https://twitter.com/KamVTV/status/1321572618286342144; Kambree (@KamVTV), TWITTER
(Oct. 28, 2020, 6:55 PM), https://twitter.com/KamVTV/status/1321586309299916801.

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were waiting when the bus arrived. According to Plaintiff Gins, the Trump supporters began

“descending upon” the bus and the Biden-Harris Campaign’s roughly 50 supporters.

Outnumbered, Gins was forced to end the event early.

       56.    On October 29, large crowds of Trump supporters showed up at Bus Tour stops in

Houston, Fort Bend, and Corpus Christi, bringing military-grade vehicles—including a “Trump

Tank”—displaying weapons, blaring music so as to drown out the campaign speeches, yelling,

verbally threatening, pushing and shoving, and engaging in minor physical altercations with the

campaign participants.11




11
   Kambree (@KamVTV), TWITTER (Oct. 29, 2020, 5:25 PM),
https://twitter.com/KamVTV/status/1321926207915597826; Kambree (@KamVTV), TWITTER
(Oct. 29, 2020, 4:01 PM), https://twitter.com/KamVTV/status/1321905049036070914.

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       57.     During the event at Corpus Christi, Trump supporters again outnumbered Biden-

Harris supporters and proceeded to surround the bus. A woman tried to push her way into

supporters of Biden-Harris Campaign surrogate Congressman Joaquin Castro. When a Biden-

Harris Campaign staffer (“Campaign Staffer A”) attempted to block the woman, her husband told

him: “If I see you again, I’m gonna f**king kill you.”

       58.     Trump supporters also continued to follow the bus. One vehicle included a “Trump

hearse” that stated it was “collecting Democratic votes one dead stiff at a time.”12




12
   Kambree (@KamVTV), TWITTER (Oct. 29, 2020, 3:52 PM),
https://twitter.com/KamVTV/status/1321902646706528256.

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         59.   Social media continued to circulate about plans to interrupt the bus on the final day

of its tour: October 30. Randi Ceh made an announcement on the Trump Train New Braunfels

Facebook page, encouraging members to “be at Solms Exit and 1-35 between 1:15 and 1:30 with

Trump Flags ON!!” She promised to “keep [the Trump Train New Braunfels Facebook page]

updated in the comments as I hear the exact time.” The post generated dozens of responses,

including Trump Train New Braunfels member Timothy Davis’s that he “[w]ould love to read the

headline ‘Trump train new Braunfels causes a massive wall and Biden campaign can’t get to it

[sic] next stop. Had to cancel the event.’” Kim Yensan-Spaulding responded by saying “Give em

hell!”


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       60.    Defendant Park circulated calls for Trump Train members in San Antonio, south of

New Braunfels, to meet that Friday at 12:30pm to “greet the Biden Bus Trump Style”:13




       61.    On Twitter, Trump supporters—including those, like Koa, who were openly

publicizing the Trump Trains in Texas—focused significant attention on reports that then-VP

Candidate Harris would be attending campaign events and might be present on the Biden-Harris

Campaign bus. 14




13
   Dolores Bedard Park, FACEBOOK (Nov. 2, 2020),
https://www.facebook.com/dolores.park.39/posts/10157770348953997.
14
   Kambree (@KamVTV), TWITTER (Oct. 28, 2020, 7:22 PM),
https://twitter.com/KamVTV/status/1321593312743170050; Damani Felder
(@TheDamaniFelder), TWITTER (Oct. 29, 2020, 4:28 PM),
https://twitter.com/TheDamaniFelder/status/1321911838221676552; Damani Felder
(@TheDamaniFelder), TWITTER (Oct. 29, 2020, 4:45 PM),
https://twitter.com/TheDamaniFelder/status/1321915977676644352.

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       62.     Also on October 29, Koa hosted a live video on Periscope with Keith Lee, a founder

of the “MAGA Drag the Interstate” movement and organizer of “MAGA Drag the Interstate”

events in Texas.15 Koa told listeners that Lee was currently in a Trump Train “trolling” the Biden-

Harris Campaign bus, and urged her followers to join the Trump Train on October 30: “So this is

what we need everybody to do right now, because Keith is going to be following the Biden-Harris

bus, which is for surrogates only, they’re following them to their next location tomorrow.” Lee

replied, “This is epic trolling. Thank you President Trump for giving us the cojones to do this.”

Several of the approximately 15,900 viewers left comments asking where they could meet up to

join the Trump Train the next day.

       63.     As a result of these incidents, the Biden-Harris Campaign became concerned about

security and decided not to pre-announce the bus’s remaining stops in Texas, undermining the

campaign’s goal of drawing supporters to the events.




15
   Kambree (@KamVTV), Biden bus tour update in Texas, PERISCOPE (Oct. 2020),
https://www.pscp.tv/w/1lDxLylzdyZKm.

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III.   THE OCTOBER 30 TRUMP TRAIN

             A. Defendants Coordinate Ambush of Biden-Harris Campaign Bus

       64.      On the morning of October 30, posts on social media indicated that members of the

Alamo City and New Braunfels Trump Trains began to communicate on social media for the

purpose of coordinating their ambush of the Bus Tour.

       65.      On Facebook, Jason Frank, a leader of the New Braunfels Trump Train, encouraged

his friends and followers to “go get that Biden bus,” and that he “can’t wait for pics and videos”

of the Trump Train. Frank included with the post a video produced by Tammy Coiteux and Cody

Ceh, other members of the Trump Train.16 Set to dramatic action movie music, the video rallies

Trump Train members to action, and uses language evocative of a military campaign: “TRUMP

2020 THE LAST STAND.”

       66.      In the New Braunfels Trump Train group, Randi Ceh spread the word about the

group’s plan to track the bus’s route and converge on the Bus Tour participants.17 Multiple group

members asked about the logistics for meeting up to begin their attack on the bus, asking: “where

are they meeting???”; “where is Solms exit?”; and “Does anybody estimate the time that they will

be going to new Braunfels [sic][.]” Several group members posted that they were “on [their] way.”




16
   Jason Frank, FACEBOOK (Oct. 31, 2020),
https://www.facebook.com/freidom.rings.7/posts/718832605395799 (last accessed May 28,
2021).
17
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 5:58 AM),
https://twitter.com/RzstProgramming/status/1322855604042539008.

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      67.    Reports also circulated in the group that then-Vice Presidential Candidate Harris

would be on the bus as it passed through New Braunfels, with one group member asking, “how

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long before she gets in [sic] NB [New Braunfels?]” Despite these false conclusions about Vice

President Harris’s whereabouts on October 30—she attended the previously announced events in

McAllen, Fort Worth, and Houston for the entirety of the day—the possibility that the then-Vice

Presidential Candidate would be in attendance at the Bus Tour whipped up further agitation within

the New Braunfels Trump Train group.

       68.    Members of the Trump Trains were also monitoring the northern-bound movement

of the bus from overpasses on I-35. According to a publicly posted YouTube video entitled

“Operation Biden Harris Bus Escort – Oct. 30,” “Trump Train members coordinated with other

TT [Trump Train] groups in McAllen, to track the bus as it was coming north to San Antonio for

a Rally.”18 Alamo City Trump Train members, too, were tipped off on the bus’s advance into San

Antonio.

       69.    Around 12:30pm, Twitter user @truthserum4all posted on Twitter:




18
 Lee Besing, Operation Biden Bus Escort Duty on IH-35 in Texas - October 30th - Part 1,
YOUTUBE (Nov. 1, 2020), https://www.youtube.com/watch?v=hyUH3mdXNyQ.

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       70.      Defendant Randi Ceh alerted the Trump Train New Braunfels Facebook page that

members “still have time if you want to meet at Solms Exit 183 to catch the Biden bus! The bus

is currently at AT&T Center,” generating nearly 200 reactions and responses.

       71.      New    Braunfels   Trump    Train      member   Tammy    Coiteux    also   shared

@truthserum4all’s Tweet on Facebook, telling her friends and followers, “Join us in San Antonio

to follow the [bus emoji.]” The post was shared 22 times.19




             B. The Bus Tour Begins With Events In Laredo and San Antonio

       72.      Meanwhile, the Bus Tour began the day in Laredo. Plaintiffs originally planned to

attend campaign events in San Antonio, San Marcos, and Austin, mostly by navigating north on

I-35. After three planned stops in San Antonio, the Bus Tour was scheduled to stop at Texas State


19
   Tammy Coiteux, FACEBOOK (Oct. 30, 2020),
https://www.facebook.com/tammy.coiteux/posts/3934764559870485.

                                              - 25 -
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University in San Marcos, where it would speak to students rallied by student advocates, and at

the AFL-CIO in Austin, where Plaintiff Davis, a former state senator and then-Democratic

candidate for Texas’s 21st congressional district, was slated to speak with U.S. Representative

Lloyd Doggett. The bus had two additional stops planned after the AFL-CIO event, one at a

polling location at the University of Texas at Austin and another at a polling location in greater

Austin. The same day, Vice President Harris was scheduled to campaign in other cities in Texas,

including at an event in McAllen.

       73.     Plaintiffs Holloway and Gins departed Laredo on the bus early on the morning of

October 30. During its drive from Laredo to San Antonio, Campaign Staffer A escorted the bus

in a white Ford Edge SUV, driving ahead of the bus for long stretches between Laredo and San

Antonio. About halfway through that drive, the staffer reported seeing roughly 15 to 20 vehicles

sporting Trump Campaign paraphernalia on an I-35 feeder road. A fellow campaign staffer

suggested to Plaintiff Gins that the bus take a side road to avoid the convoy. Concerned for their

safety if they were to run into Trump Train vehicles, Plaintiffs Holloway and Gins exited I-35 and

took an alternative route into San Antonio.

       74.     Trump Train members, who had been tracking the bus from Laredo to San Antonio,

soon realized that their plans to intercept the bus had been thwarted. According to the “Operation

Biden Harris Bus Escort – Oct. 30” YouTube video, “A group of Trump Train supporters camped

out on the I-35 overpass with their flags, south of San Antonio, waiting patiently for the bus that

never arrived[.]”20 However, members of the New Braunfels and Alamo City Trump Trains were

not dissuaded, and began deploying to pre-planned positions along I-35. Around 9:30am, Alamo

City Trump Train members began to post in the Facebook group that they were “[g]oing to head




20
 Lee Besing, Operation Biden Bus Escort Duty on IH-35 in Texas - October 30th - Part 1,
YOUTUBE (Nov. 1, 2020), https://www.youtube.com/watch?v=hyUH3mdXNyQ.

                                              - 26 -
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over to [I-]35 and wait,” and that some members were already “located at [I-]35N and [Route]

1604. Ready to rock.”




       75.      Shortly after arriving in San Antonio, Plaintiff Davis met up with the bus, on which

she would be a passenger for the rest of the Bus Tour. Plaintiff Cervini also met the bus in San

Antonio in his own vehicle, planning to accompany the bus throughout the day.

       76.      The Bus Tour made three stops in San Antonio, the last of which was the AT&T

Center, where the tour participants were met with Trump supporters waiting in the parking lot.

             C. The Bus Tour Is Besieged Driving Between San Antonio and Austin

       77.      The bus left San Antonio around 2:15pm with the assistance of a prearranged police

escort. There were four people aboard the bus as it left San Antonio: Plaintiffs Holloway, Davis,

and Gins, as well as the other bus driver who was off-duty that day. Plaintiff Cervini was driving

about a mile ahead of the bus, and other Biden-Harris Campaign and political aides and volunteers,

including Campaign Staffer A, were driving in vehicles accompanying the bus.

       78.      About half an hour before the Trump Train intercepted the bus, members of the

Biden-Harris Campaign began seeing posts on Instagram and Snapchat about the converging

vehicles. At the city limits of San Antonio, as the Bus Tour headed into the city of Live Oak, the

police escort dropped off.

       79.      As the bus crossed from Live Oak to Selma, while the bus was passing the

intersection of Route 1604 and I-35 by The Forum shopping mall, Trump Train vehicles converged

on the bus. Vehicles—most of them large trucks and SUVs—displayed a variety of flags,

including Trump campaign flags, Confederate battle flags, and many others. The Trump Train

began harassing the bus by surrounding it, forcing it to slow down, honking, yelling, and making

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hand gestures. Vehicles started getting close to the bus and taking videos.

        80.     Upon information and belief, among the vehicles who joined the ambush at or

around this time was Defendant Cisneros. In a 2:33pm video posted to his since-deleted Facebook

page, Cisneros can be seen waiting on the shoulder of I-35 to join other Trump Train vehicles.21

The video shows the Biden-Harris Campaign bus drive past Cisneros’s watch post on the I-35

shoulder, already flanked by several Trump Train vehicles. Cisneros, driving a black Ford F-150,

Texas License Plate # 67555 DV, joined the Trump Train on I-35 shortly thereafter.

        81.     Trump Train members had assembled just north of Selma in response to Randi

Ceh’s earlier call to “follow the bus.” Randi Ceh continued updating the Trump Train New

Braunfels Facebook page throughout the day, at one point saying “I have people lining up at 1:30-

2:00 . . . At Solms EXIT and 35 frontage going north.”

        82.     Around 3:04pm, while driving just south of New Braunfels near Exit 184, Rueckle

Road, Plaintiff Cervini encountered bumper-to-bumper traffic on I-35 and observed a line of at

least 40 vehicles lying in wait on the side of the interstate. Plaintiff Cervini filmed these vehicles

and later posted the video on Twitter.22

        83.     Shortly thereafter, Plaintiff Cervini exited I-35 at Exit 184 and continued on the

planned route to the next campaign stop at Texas State University in San Marcos, Texas.

        84.     Also at this time, Plaintiff Cervini messaged the other Bus Tour participants to warn

them, and suggested they take another route to avoid the traffic and the Trump Train. From the

bus, Plaintiff Gins responded that it was too late; they were “stuck in it.”

        85.     As the vehicular aggression intensified, Campaign Staffer A stayed behind the bus

to protect its blind spot.


21
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 11:10 AM),
https://twitter.com/RzstProgramming/status/1322934038739492866.
22
   Dr. Eric Cervini (@ericcervini), TWITTER (Oct. 30, 2020, 8:34 PM),
https://twitter.com/ericcervini/status/1322336226792321025?s=20.

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       86.    Meanwhile, New Braunfels Trump Train members were also waiting in the wings

to join the increasingly escalating situation on I-35. According to a publicly posted YouTube

video, Trump Train members on I-35 “called ahead to the New Braunfels Trump Train group.”23

The video shows a “few dozen more vehicles” waiting to join those already in the Trump Train.

       87.    Upon information and belief, among those in vehicles who joined the ambush of

the bus Tour around this time were Defendants Hannah Ceh, Kruger, Joeylynn Mesaros, Robert

Mesaros, and Park.

       88.    Based on social media posts and video evidence, Defendant Kruger drove while

Defendant Hannah Ceh, along with at least one other, was a passenger in a white Toyota Tundra,

Texas License Plate # LXT 9066, which had three flags attached to the back, including a Trump

flag and Confederate flag. Defendant Hannah Ceh’s social media posts show the white Toyota

Tundra seen throughout the incident:24




23
   Lee Besing, Operation Biden Bus Escort Duty on IH-35 in Texas - October 30th - Part 1,
YOUTUBE (Nov. 1, 2020), https://www.youtube.com/watch?v=hyUH3mdXNyQ.
24
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 5:47 AM),
https://twitter.com/RzstProgramming/status/1322852781041061888; see also Resist
Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 6:18 AM),
https://twitter.com/RzstProgramming/status/1322860570610147331.

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       89.     Upon information and belief, while Defendant Kruger was driving near the Biden-

Harris Campaign bus, passenger and Defendant Hannah Ceh alerted Kruger that she was “getting

too nervous,” and that participating in the caravan was “stressing her out.”       Nevertheless,

Defendant Kruger continued to come close to the Biden-Harris Campaign bus and abruptly

swerved next to it.

       90.     Based on social media posts and video evidence, Defendants Robert and Joeylynn

Mesaros rode in a black Ford F-150, Texas License Plate # NJX 1701, which had at least five flags

attached to the back. Defendant Joeylynn Mesaros posted on social media identifying herself and

her husband as present on I-35 during the incident driving in a black Ford F-150, and Defendant

Joeylynn Mesaros appears to have taken a Facebook live video during the incident.25




25
   Joeylynn Mesaros, FACEBOOK (Oct. 31, 2020),
https://www.facebook.com/100000575746052/videos/pcb.3923562267672926/39235539676737

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       91.     Based on social media posts and video evidence, Defendant Park drove a Cadillac

SRX, Texas License Plate # KVH 4567. Park posted on social media identifying herself as present

on I-35 during the incident driving in a Cadillac SRX.26




       92.     As the aggressive behavior of the Trump Train escalated, Plaintiff Davis began

filming video of the view from the bus’s front window. Plaintiff Holloway, who had to this point

tolerated the Trump Train’s behavior, asked, “Are they gonna stop me? Like, come on man. It’s

getting stupid now.” Several minutes later, Holloway noted that they had slowed down to 15 miles



56 (last accessed May 27, 2021);
Joeylynn Mesaros, FACEBOOK (Oct. 30, 2020),
https://www.facebook.com/joeylynn.aramendiamesaros/posts/3920656761296810 (last accessed
May 27, 2021).
26
   @dolores_mommapark, INSTAGRAM (Oct. 30, 2020),
https://www.instagram.com/p/CG_IgOgH2C9/;
@dolores_mommapark, INSTAGRAM (Oct. 30, 2020),
https://www.instagram.com/p/CG_OL3ung4J/.

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per hour.

       93.     The view from the front window of the bus shows how close the Trump Train

vehicles were driving to the bus on all sides and how abruptly they were routinely braking. This

tactic repeatedly forced the bus to quickly slow down to a dangerously low speed in order to avoid

a collision. Around Exit 189, Defendant Cisneros’s truck moved in front of the bus. Video

evidence shows Cisneros rapidly decelerating within seconds of entering the right-hand lane in

front of the bus in an apparent attempt to slow the bus down.




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       94.    Video evidence also shows the Cadillac SRX bearing Texas License Plate # KVH

4567, which Defendant Park was driving, assisting the gray Ford F-150 bearing dealer tag

# 76022U6, driven by a John Doe, in boxing the bus in.




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       95.     Vehicles in the Trump Train also cut sharply in front of the bus from parallel lanes

and the shoulder, causing the bus to brake quickly. The gray Ford F-150 bearing dealer tag

# 76022U6 can be seen in video footage driving dangerously close to the front of the bus. The

Ford F-150 bearing Texas License Plate # NJX 1701, in which Defendants Robert and Joeylynn

Mesaros rode, can be seen in the same footage waiting on the shoulder for the bus to arrive, and

then dangerously and abruptly cutting right in front of it. Likewise, the red Toyota Tundra bearing

License Plate # GLB 9729 can be seen in video footage cutting suddenly from the middle lane left

of the bus, to right in front of the bus, and back, close enough to force the bus to slow down

suddenly.




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       96.     Through much of the drive, the white Toyota Tundra Texas License Plate # LXT

9066, driven by Defendant Kruger, was on the right-hand side of the bus, slightly ahead of it, with

its window down. A backseat passenger of the vehicle was hanging out of the window, screaming.




       97.     At some points, Defendant Kruger moved his white Toyota Tundra Texas License

Plate # LXT 9066 to the left-hand side of the bus and began driving dangerously close to the bus.




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Video footage posted by Defendant Hannah Ceh, a passenger in Kruger’s white Toyota Tundra

Texas License Plate # LXT 9066, shows the vehicle driving within inches of the bus.27




       98.     Throughout this time, Trump Train vehicles started veering close to Campaign

Staffer A and the bus, surrounding them and playing a game of “chicken” in what appeared to be

an attempt to force Campaign Staffer A to leave his spot behind the bus. Trump Train vehicles

would pass within three to four inches of his front right bumper, and would pull up and yell. They

would not let up.


27
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 5:47 AM),
https://twitter.com/RzstProgramming/status/1322852781041061888;
Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 6:18 AM),
https://twitter.com/RzstProgramming/status/1322860570610147331.

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       99.    By the time the bus reached New Braunfels, there were dozens of Trump Train

vehicles surrounding the bus:28




       100.   Also around this time, near Exit 193 in New Braunfels, Defendant Park streamed

two live videos to Facebook. In one, she states, “This Biden bus is surrounded! Like seriously



28
   🇺🇸🦅 P💥A💥T💥R💥I💥O💥T 🇺🇸 (@BlessUSA2024), TWITTER (Oct. 31, 2020, 2:43 PM),
https://twitter.com/BlessUSA2024/status/1322610261124141057.

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surrounded by Trump flags!” and “If my husband sees me like this he’s going to kill me for driving

like this!”29 In another, she comments on other non-Trump Train vehicles on the road, stating,

“they’re gonna to try to break us up; they try to break us up but it doesn’t work … there’s too many

of us, and then someone just lets everyone in.”30 Later in the same video, she explains how she

and others have been maneuvering to slow down traffic near the bus to keep it surrounded by

Trump Train vehicles: “See when you scoot over, then you let everyone else in, like this. … He’s

[non-Trump Train vehicle] been with us for quite a few miles, he’s been trying to cut everyone off

but I’m going to let everyone in.”

       101.    Upon entering New Braunfels, Campaign Staffer A called 911 to report the

escalating situation and to request a police escort or other safety measures. The New Braunfels

Police Department sent vehicles to I-35. As soon as the police arrived, the Trump Train resumed

driving at around the posted speed limit and stopped harassing the bus passengers. When the Bus

Tour reached the New Braunfels-San Marcos city line, however, the New Braunfels police dropped

off, and the Trump Train resumed its harassing behavior.

       102.    Around this time, the Biden-Harris Campaign, including Campaign Staffer A, had

a conference call with law enforcement dispatchers from the New Braunfels and San Marcos areas

to request a police escort or other safety measures. The officers on the call did not send an escort

in San Marcos and instead said officers would be looking out for traffic violations as usual. Also

around the same time, Biden-Harris Campaign staff and supporters, including Plaintiff Davis and

Plaintiff Gins, spoke with San Marcos and Hays County law enforcement dispatchers or personnel

on the phone, reporting vehicular assault, requesting an escort, and repeatedly explaining their

location.


29
   Dolores Bedard Park, FACEBOOK (Oct. 30, 2020),
https://www.facebook.com/dolores.park.39/videos/10157762463158997/.
30
   Dolores Bedard Park, FACEBOOK (Oct. 30, 2020),
https://www.facebook.com/dolores.park.39/videos/10157762399613997/.

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       103.    At or around 3:15pm, Plaintiff Gins called 911. Meanwhile, Plaintiff Cervini, who

arrived at the Texas State venue around 3:20pm, pleaded with an officer from the San Marcos City

Marshal’s department to provide an escort for the bus.

       104.    But no escort from any department ever arrived in San Marcos. Fearing for other

Plaintiffs’ and his own safety, and without a police escort to accompany the bus safely through

San Marcos to its next stop at Texas State University, Plaintiff Gins made the decision to cancel

the Texas State event.

       105.    As the bus and Campaign Staffer A’s vehicle drove through San Marcos, the Trump

Train again surrounded the bus and Campaign Staffer A’s car. At this time, members of the Trump

Train—including the white Toyota Tundra Texas License Plate # LXT 9066 seen in video footage

stills below—were taking pictures and videos, making hand gestures, swerving dangerously in and

out of lanes, and otherwise driving in a way that appeared to be an attempt to push the bus off the

road onto the shoulder.




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       106.    At times, the Trump Train’s hounding of the bus caused back-ups of unrelated

traffic on I-35. At several points, Trump Train vehicles moved together in a coordinated fashion

to allow unrelated traffic to pass by the convoy.

       107.    With no end to the harassment in sight, the bus took a defensive posture, covering

the middle line of the interstate so that the bus had more room on its right to defend against the

vehicles. Plaintiff Holloway sought to preserve room in the right lane in order to allow room for

the bus to slow down if forced to stop suddenly.

       108.    Campaign Staffer A continued to follow the bus, but Defendant Cisneros

approached from his right, at times straddling the solid line on the right-hand shoulder.

       109.    Around 3:45pm, as the bus approached the city of Kyle, Plaintiffs Davis and Gins

continued to explain the bus’s location while on the phone with a dispatcher from the San Marcos

Police Department. Plaintiffs Davis and Gins were then transferred to the Kyle Police Department,

whose dispatcher said officers would assist.

       110.    At around the same time, as the bus and Campaign Staffer A’s vehicle approached

the San Marcos-Kyle line near Exit 213, and still with no officers in sight, Defendant Cisneros

approached within feet of the back bumper of the bus:31




31
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 9:43 AM),
https://twitter.com/RzstProgramming/status/1322912224311185409/photo/1.

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       111.    As Campaign Staffer A attempted to continue on his course following the bus,

Defendant Cisneros swerved the front edge of his pickup truck in what appeared to be an attempt

to edge Campaign Staffer A off his course. In so doing, Defendant Cisneros collided with the side

of Campaign Staffer A’s car.

       112.    As a result of the impact, Campaign Staffer A temporarily lost control of his vehicle

and swerved into the middle lane of traffic. He drifted back into the highway lane after gaining

control of his vehicle.




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        113.    As demonstrated by video footage, the driver’s-side front of Defendant Cisneros’s

black Ford F-150 made contact with Campaign Staffer A’s white SUV and forced it out of the

right-most lane of traffic.32




32
   melissa “cancel student debt” byrne (@mcbyrne), TWITTER (Oct. 31, 2020, 11:50 AM),
https://twitter.com/mcbyrne/status/1322566702048153600.

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       114.    The rental car that Campaign Staffer A was driving sustained damage along the

side where Cisneros’s vehicle collided with it.33




       115.    Following the collision, Campaign Staffer A pulled over to the shoulder, but

quickly resumed driving to try to stay close to the bus for safety after Defendant Cisneros pursued

and cornered his vehicle on the shoulder. Video footage shows Defendant Cisneros’s black Ford

F-150 Texas License Plate # 67555 DV speeding past the bus and maneuvering all the way from

the lane to the left of the bus to the right-hand shoulder, in pursuit of Campaign Staffer A.


33
   Katie Naranjo (@KatieNaranjo), TWITTER (Oct. 30, 2020, 6:55 PM),
https://twitter.com/KatieNaranjo/status/1322311181168758784/photo/2.

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Cisneros’s truck then cuts directly in front of Campaign Staffer A’s white SUV on the shoulder in

an attempt to block it in. As Campaign Staffer A attempts to pull back onto the highway,

Cisneros’s truck abruptly brakes, causing Campaign Staffer A to come to a near stop. Finally,

Campaign Staffer A is able to escape by darting in front of the bus. In one of the video stills, the

backseat passenger of the Toyota Tundra Texas License Plate # LXT 9066 can be seen

coordinating with Cisneros, who proceeds to get back in a driving lane in front of the Toyota

Tundra.




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        116.   Also after the collision, some of the Trump Train members pulled over and got out

of their vehicles. Upon information and belief, Defendants Robert and Joeylynn Mesaros were

among these vehicles. Video footage shows a man and woman in the truck bed of the black Ford

F-150 Texas License Plate # NJX 1701 filming the bus as Campaign Staffer A attempts to pull

over.




        117.   Once the bus had crossed into Kyle and shortly after Plaintiffs Davis and Gins

described their location to a Kyle police dispatcher, one law enforcement vehicle began driving

ahead of the bus. The Trump Train again de-escalated its harassing behavior and resumed driving

at around the posted speed limit. But as soon as the law enforcement vehicle exited I-35, the

Trump Train resumed their threatening behavior. At that point, roughly twenty vehicles remained

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in the Trump Train, including the white Toyota Tundra Texas License Plate # LXT 9066, driven

by Defendant Kruger and carrying Defendant Hannah Ceh as a passenger, which can be seen in

Plaintiff Davis’s video driving several cars ahead when the police escort is present, but quickly

resuming its place right in front of the bus and boxing it in within approximately 30 seconds after

the police escort drops off.




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       118.    As the bus and the Trump Train then entered Travis County, the bus was still

surrounded by approximately seven to eight Trump Train vehicles.

       119.    Finally seeing a brief opening provided by an approaching exit, Plaintiffs Holloway

and Davis seized the opportunity to escape the convoy by abruptly taking an earlier-than-planned

exit into downtown Austin. At this point, the bus was straddling the middle and right lanes, driving

around the speed limit of 70 miles per hour. As the exit approached, Holloway feigned going

straight, then cut to the Riverside exit ramp at the last second. Upon exiting I-35, the bus lost what

remained of the convoy for its final entry into Austin.

       120.    Plaintiffs arrived at the AFL-CIO headquarters in Austin around 4:35pm, without

any Trump Train vehicles in immediate pursuit. It was their first planned campaign stop for

Austin, but by that point, the event had been cancelled, along with the two planned stops thereafter.

The approximately 80-mile drive between the AT&T Center in San Antonio and the AFL-CIO in


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Austin, which would normally take no more than ninety minutes, had taken approximately 2.5

hours.

            D. Defendants Harass Plaintiffs At Cancelled Austin Event Location

         121.   Shortly after Plaintiffs arrived at their Austin campaign stop at the AFL-CIO,

members of the Trump Train also arrived at the location. These Trump Train vehicles, which had

not appeared to have directly followed the bus off the Riverside exit, nonetheless knew the bus’s

next campaign stop and arrived to continue their harassment of Plaintiffs. Upon information and

belief, these vehicles included the black Ford F-150 driven by Defendant Cisneros, and the white

Toyota Tundra Texas License Plate # LXT 9066, driven by Defendant Kruger and carrying

Defendant Hannah Ceh and at least one other.

         122.   Upon arriving in the AFL-CIO parking lot, the Trump Train members got out of

their trucks and confronted the Biden-Harris Campaign participants, screaming insults at Plaintiff

Holloway and Campaign Staffer A in particular.

         123.   City of Austin police were present at the venue, but did not ask Defendants and

their compatriots to leave the parking lot. Plaintiff Gins asked the police to help when one of the

Trump Train participants got extremely physically close to Plaintiff Holloway and Campaign

Staffer A while screaming at them.

         124.   By this point, the Biden-Harris Campaign had decided to cancel their scheduled

campaign event and press conference at the AFL-CIO, as well as the rest of the Bus Tour and all

other promotional events in Texas. Plaintiff Gins also spoke with a member of the Biden-Harris

Campaign, who told the remaining Bus Tour participants to shelter in place within the AFL-CIO

building if possible. Plaintiff Gins and others present at the venue proceeded to shelter in place.

         125.   Plaintiffs each left the scene shortly thereafter. Plaintiff Davis was met by her

campaign manager—who had been escorting the bus in a separate vehicle throughout the


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incident—and left the AFL-CIO in her campaign manager’s vehicle shortly after arriving at the

venue.

         126.   As Davis left and for some time thereafter, the other Bus Tour participants

discussed how long to stay at the AFL-CIO. Plaintiffs Gins and Cervini were afraid to leave the

shelter of the AFL-CIO, given their experience on I-35 and the continued presence and hostility of

Defendants Cisneros and other unknown persons at the AFL-CIO. Plaintiff Holloway was

concerned about his continued safety if he stayed at the AFL-CIO parking lot.

         127.   Around this time, the police officers present at the AFL-CIO told the Bus Tour

participants they were leaving, and that once the bus left the AFL-CIO, they were “on their own.”

Shortly thereafter, Plaintiff Cervini left the premises in his vehicle, hoping to get away quickly

from the remaining Trump Train vehicles and what he saw as a continued dangerous situation at

the AFL-CIO parking lot. Plaintiff Gins, Campaign Staffer A, and a fellow campaign staffer got

into the white SUV that Campaign Staffer A had driven, and also left. Plaintiff Holloway and the

off-duty bus driver concluded that they would not be safe in Texas, and drove the bus out of state.

            E. Continued Harassment After the I-35 Incident

         128.   Later that evening, Defendant Cisneros and other Trump Train members bragged

about their exploits on social media.

         129.   On his Facebook page, Defendant Cisneros posted a photo or video that has since

been deleted, stating “Texas welcomes Biden/Harris” with “35 in [inch] tires,” and telling a

commenter “that was me slamming that fucker…. Hell yea.” One commenter joked about the

violence of Cisneros’s actions on I-35, stating that Cisneros’s “protest” was “mostly peaceful..

Bwahahahaha” and telling him to “make sure you Armor All your tires for Sunday,” the date the

final pre-Election Day MAGA Drag the Interstate event was planned. Cisneros also reposted a




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video taken by another Trump Train member, stating “Hell yea… My truck is right behind the bus

at the end….”




       130.     Jason Frank retweeted content by @truthserum4all, which has since been removed

by Twitter, bragging about “My Squad holding the line”34 as well as a video of the incident with

the caption, “My Texas family escorting the Biden bus [crying laughing emoji] Get um

@truthserum4all.”35




34
   Freedom Rings (@FreedomRings007), TWITTER (Oct. 30, 2020, 9:47 PM),
https://twitter.com/FreedomRings007/status/1322354409561444354.
35
   Freedom Rings (@FreedomRings007), TWITTER (Oct. 30, 2020, 4:51 PM),
https://twitter.com/FreedomRings007/status/1322279938339139584.

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      131.   The next day, several members of the Alamo City Trump Train Facebook group

bragged about the event online, noting that they were “armed and dangerous” throughout the

October 30 Trump Train.




      132.   After the incident, in the group’s private Facebook page, members of the New

Braunfels Trump Train celebrated their success and thanked the Ceh family for leading them.

Defendant Hannah Ceh expressed being “proud” of the group’s actions, to which Bev Beare



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responded: “We just wanted to give a friendly escort right out of Texas!” Mike Capizzi warned

that the Biden-Harris Campaign “ain’t seen nothin yet,” and stated: “Yep, we escorted your

communist trash straight out of here. Do not pass go, do not collect 200 dollars,” to which Randi

Ceh replied that “This is why we love the Capizzi's!!” Trump Train New Braunfels member Laura

Singleton reported: “It gets better, they had to cancel the rest of the tour.”

       133.    Upon information and belief, on October 30, 2020, after members of his family

described the Trump Train’s conduct during the Incident and the cancellation of Biden-Harris

Campaign events, Defendant Steve Ceh wrote in a family group chat that he was “proud of you

guys” and said that they were “making history.”

       134.    The incident also caught the attention of the Trump Campaign. Between October

31 and November 2, 2020, then-President Trump spoke at campaign rallies in support of

Defendants’ violent intimidation of Plaintiffs and tweeted about the incident, including a retweet

of video of the incident, writing, “I LOVE TEXAS!” Defendant Robert Mesaros reposted the

tweet to Facebook, with the caption, “We were in this small group of trucks!”36 Defendant Park

posted footage of the campaign speeches on social media, stating, “Talking about us again!! Lol

San Antonio! Escorting Biden Bus right out of Town! Deplorables escort service[.]”37

       135.    On November 1, 2020, Donald Trump Jr. shared road footage taken by a New

Braunfels Trump Train member to his Instagram story. Defendant Hannah Ceh reposted Trump

Jr.’s story on social media.38

       136.    In the meantime, Trump Train participants continued to harass the Bus Tour



36
   Robert Mesaros, FACEBOOK (Oct. 31, 2020),
https://www.facebook.com/robertjmesaros/posts/4131515303542248 (last accessed May 27,
2021).
37
   Dolores Bedard Park, FACEBOOK (Nov. 2, 2020),
https://www.facebook.com/dolores.park.39/posts/10157765610483997.
38
   Resist Programming (@RzstProgramming), TWITTER (Nov. 1, 2020, 6:18 AM),
https://twitter.com/RzstProgramming/status/1322860570610147331.

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participants online.

       137.    On the evening of October 30, Plaintiff Cervini tweeted about the incident. In

response, his tweet received several thousand negative comments, and he received a number of

threatening emails. One Twitter post, from Twitter user @WeFight4Freedom, threatened, “That’s

nothing commie. We got more for you. Much more.” Defendant Cisneros identified Plaintiff

Cervini’s professional Facebook page, and posted the message, “How did you like Texas?” On

his Facebook profile at the time, Defendant Cisneros had posted a prominent picture wearing an

“LGBT” (“Liberty Guns Beer Trump”) t-shirt, and holding a gun.




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       138.    Members of the Trump Train and their online supporters identified Campaign

Staffer A online and harassed him on Snapchat. They also posted pictures on Facebook of the

guns they had carried.

IV.    PLAINTIFFS’ INJURIES

       139.    During the ordeal on I-35, Plaintiffs feared for their lives. As the driver of and

passengers on the bus, Plaintiffs Holloway, Davis, and Gins were subjected to an imminent threat

of bodily harm as a result of Defendants’ reckless and dangerous driving. Plaintiff Cervini suffered

a similar imminent threat of bodily harm while driving ahead of the bus and encountering the

Trump Train, including Defendants, on and around I-35.

       140.    Plaintiffs all suffered emotional distress. Plaintiff Holloway had trouble sleeping

for over a month after the incident. He was so traumatized by the incident that he ceased his tour

bus business for nearly a year and turned down professional opportunities to drive a bus.

       141.    Plaintiff Davis suffered substantial emotional distress, including experiencing fears

that speaking publicly about her experience would put her at risk of physical harm from Defendants

and their supporters, as she lives in Texas and many of her Trump Train assailants reside in the

congressional district she was running to represent.

       142.    Plaintiff Gins was extremely shaken as a result of his ordeal. During the incident,

he felt “terrorized” as a result of Defendants’ collective actions in following, assaulting, and

harassing the bus and its passengers. About an hour into the ordeal, he walked to the back of the

bus and broke down in tears. He did not want the others to see him crying. He called his manager

on the Biden-Harris Campaign begging for reassurance that they would be safe and that someone

was coming to help them.

       143.    Following the incident, Plaintiff Gins has suffered from persistent acute anxiety

and its physical manifestations, including stomach pains, nausea, lethargy, and trouble getting out



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of bed in the morning. He wanted to talk to others about the incident but was afraid to “face the

world,” and at times opted to “stay under the covers” rather than relive his trauma by describing

the events to others. After the January 6, 2021 insurrection, he volunteered to work full-time in

then-President-Elect Biden’s Presidential Inaugural Committee in Washington, D.C., but quit after

three or four days, finding himself unable to cope with the anxiety he still faced from October 30,

2020. The night before Inauguration Day, he was to participate in the Inaugural parade. After

initially agreeing, he declined by text message: “I’m sorry to back out but I’m just having anxiety

about the security aspect. I was on the Biden bus in Texas [and] have been a little traumatized

since then.”

        144.    Plaintiff Cervini describes the incident as a “nightmare” that caused emotional

anxiety and stress about his safety and the safety of his family during the remainder of the 2020

election.

        145.    Plaintiffs were also prevented from engaging in political advocacy in support of

their chosen candidates for President and Vice President, and from engaging in activities to support

voter engagement and get-out-the-vote advocacy. As a result of Defendants’ conspiracy, Plaintiffs

and the Biden-Harris Campaign were forced to cancel campaign stops in San Marcos and Austin

to protect the physical safety of themselves and event participants, preventing Plaintiffs from

engaging in the political process with prospective voters and exercising their First Amendment

rights to freedom of speech and association.

                                             COUNT I

                                 (Claim Against Defendants for
                    Violation of the Ku Klux Klan Act, 42 U.S.C. § 1985(3))

        146.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs as if

fully set forth herein.

        147.    Plaintiffs bring a claim under the support-or-advocacy clause of 42 U.S.C.

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§ 1985(3), which provides that:

       If two or more persons in any State or Territory conspire or go in disguise on the highway
       or on the premises of another, for the purpose of depriving, either directly or indirectly,
       any person or class of persons of the equal protection of the laws, or of equal privileges
       and immunities under the laws; or for the purpose of preventing or hindering the constituted
       authorities of any State or Territory from giving or securing to all persons within such State
       or Territory the equal protection of the laws; or if two or more persons conspire to prevent
       by force, intimidation, or threat, any citizen who is lawfully entitled to vote, from giving
       his support or advocacy in a legal manner, toward or in favor of the election of any
       lawfully qualified person as an elector for President or Vice President, or as a Member
       of Congress of the United States; or to injure any citizen in person or property on account
       of such support or advocacy; in any case of conspiracy set forth in this section, if one or
       more persons engaged therein do, or cause to be done, any act in furtherance of the object
       of such conspiracy, whereby another is injured in his person or property, or deprived of
       having and exercising any right or privilege of a citizen of the United States, the party so
       injured or deprived may have an action for the recovery of damages occasioned by such
       injury or deprivation, against any one or more of the conspirators. (emphases added)

       148.    Defendants Cisneros, Hannah Ceh, Randi Ceh, Steve Ceh, Kyle Kruger, Joeylynn

Mesaros, Robert Mesaros, and Park violated 42 U.S.C. § 1985(3) by conspiring with each other

and others to knowingly intimidate constitutionally eligible voters by physically assaulting,

threatening, and harassing Plaintiffs while driving on I-35.

       149.    The coordinated actions of Defendants Cisneros, Hannah Ceh, Randi Ceh, Steve

Ceh, Kruger, Joeylynn Mesaros, Robert Mesaros, and Park including organizing the Alamo City

and New Braunfels Trump Train cohorts of October 30, 2020 and encouraging and engaging in

aggressive, dangerous, and reckless driving, constituted substantial steps in furtherance of that

conspiracy.

       150.    Through these coordinated efforts, Defendants Cisneros, Hannah Ceh, Randi Ceh,

Steve Ceh, Kruger, Joeylynn Mesaros, Robert Mesaros, and Park hoped to deter constitutionally

eligible voters from engaging in support or advocacy on behalf of their preferred candidates for

President and Vice President in upcoming elections, or to injure them in person or property on

account of such support or advocacy.



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        151.    Defendants’ concerted actions did injure Plaintiffs in person and property, and

deprived them of exercising rights or privileges of a citizen of the United States. Plaintiffs suffered

psychological and emotional harms and were prevented from exercising their First Amendment

rights and engaging with eligible prospective voters as a result of Defendants’ conspiracy.

                                             COUNT II

                                  (Claim Against Defendants for
                                        Civil Conspiracy)

        152.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs as if

fully set forth herein.

        153.    Plaintiffs bring a claim of civil conspiracy, which occurs when: “(1) a combination

of two or more persons; (2) the persons seek to accomplish an object or course of action; (3) the

persons reach a meeting of the minds on the object or course of action; (4) one or more unlawful,

overt actions are taken in pursuance of the object or course of action; and (5) damages occur as a

proximate result.” MVS Int’l Corp. v. Int’l Advert. Sols., LLC, 545 S.W.3d 180, 196 (Tex. App.

2017) (citing Tri v. J.T.T., 162 S.W.3d 552, 556 (Tex. 2005)).

        154.    Defendants Cisneros, Hannah Ceh, Randi Ceh, Steve Ceh, Kruger, Joeylynn

Mesaros, Robert Mesaros, and Park, together, sought to accomplish a course of action: to

intimidate and threaten the Biden-Harris Campaign’s staff and volunteers in an effort to stifle their

political advocacy.

        155.    Prior to the events described in the preceding paragraphs, Defendants Cisneros,

Hannah Ceh, Randi Ceh, Steve Ceh, Kruger, Joeylynn Mesaros, Robert Mesaros, and Park had a

meeting of the minds as to this course of action. Defendants planned with each other and others

to knowingly intimidate constitutionally eligible voters by physically assaulting, threatening, and

harassing Plaintiffs while driving on their intended route, including on I-35.



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        156.    The unlawful acts described in the preceding and subsequent paragraphs were taken

in pursuit of Cisneros, Hannah Ceh, Randi Ceh, Steve Ceh, Kruger, Joeylynn Mesaros, Robert

Mesaros, Park’s course of action.

        157.    As described in the preceding paragraphs, Plaintiffs suffered damage as a proximate

result of these actions. Plaintiffs suffered psychological and emotional harms and were prevented

from exercising their First Amendment rights and engaging with eligible prospective voters as a

result of Defendants’ conspiracy.

                                            COUNT III

                                 (Claim Against Defendants for
                                         Civil Assault)

        158.    Plaintiffs incorporate by reference the allegations of the preceding paragraphs as if

fully set forth herein.

        159.    Plaintiffs bring a claim of civil assault, the elements of which mirror the elements

of criminal assault. Sanchez v. Striever, 614 S.W.3d 233, 239 (Tex. App. 2020) (citing Loaisiga

v. Cerda, 379 S.W.3d 248, 256 (Tex. 2012)). A defendant commits assault when he or she “(1)

intentionally, knowingly, or recklessly causes bodily injury to another […]; (2) intentionally or

knowingly threatens another with imminent bodily injury […]; or (3) intentionally or knowingly

causes physical contact with another when he or she knows or should reasonably believe that the

other will regard the contact as offensive or provocative.” Tex. Penal Code § 22.01(a). Under the

Texas Penal Code, “[a] person is […] responsible for an offense committed by the conduct of

another if […] acting with intent to promote or assist the commission of the offense, he solicits,

encourages, directs, aids, or attempts to aid the other person to commit the offense[.]” Tex. Penal

Code § 7.02(a).

        160.    Defendants Cisneros, Kruger, and Robert Mesaros intentionally and/or knowingly

threatened Plaintiffs with imminent bodily injury by engaging in aggressive, dangerous, and

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reckless driving that put Plaintiffs and others on I-35 in physical danger. The drivers of the Ford

F-150 bearing Texas License Plate # 67555DV, the Ford F-150 bearing Texas License Plate # NJX

1701, and the Toyota Tundra bearing Texas License Plate # LXT 9066, —respectively, Defendants

Cisneros, Robert Mesaros, and Kyle Kruger—were each captured on video abruptly and rapidly

slowing down the bus, boxing the bus in, and driving in front of or to the side of the bus at a

dangerously low speed, and dangerously close to the bus, in an apparent effort to rapidly slow

down the bus, to box the bus in, and/or to inhibit its movement on I-35.

         161.   In addition, Defendant Cisneros tailgated the bus, sticking within a few feet of the

bus and boxing it in from behind, before swerving to his left, intentionally “slamming” into

Campaign Staffer A’s car. After demonstrating his willingness to make impact with the Biden-

Harris vehicles on the road, Cisneros again cut abruptly in front of Campaign Staffer A’s car and

the bus, boxing them in from the front and forcing them to decelerate almost to a halt.

         162.   On information and belief, Defendants Cisneros, Hannah Ceh, Randi Ceh, Steve

Ceh, Kruger, Joeylynn Mesaros, Robert Mesaros, and Park acting with intent to promote or assist

the conduct described above, solicited, encouraged, directed, aided, and/or attempted to aid in that

conduct.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs pray this Court:

         a)     Determine it has jurisdiction over this action;

         b)     Declare that Defendants have violated 42 U.S.C. § 1985(3) and the state laws

violated as set forth above;

         c)     Award nominal and compensatory damages in an amount to be determined at

trial;

         d)     Award punitive damages in an amount to be determined at trial;


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      e)      Award Plaintiffs’ reasonable attorneys’ fees and litigation costs; and

      f)      Grant any such other relief as this Court may deem just and proper.

                                        JURY DEMAND

      Plaintiffs demand a trial by jury on all issues so triable.




DATED: October 28, 2022                                 Respectfully submitted,

                                                        /s/ John Paredes

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